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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:23-md-3076-KMM

   In RE: FTX CRYPTOCURRENCY
   EXCHANGE COLLAPSE LITIGATION
   _____________________________________/

                  CERTIFICATE OF UNDERSTANDING REGARDING
            ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA


          I, Andrew J. Ehrlich, the undersigned, do hereby certify that:
          1.      I am a member of good standing of the New York Bar.

           2.      I have studied, understand, and will abide by the Local Rules for the Southern
   District of Florida.

          3.    I have studied, understand, and will abide by the Administrative Procedures
   governing CM/ECF procedures in the Southern District of Florida.

           4.     I will only use this electronic filing privilege in the matter captioned above and in
   no other case in the Southern District of Florida, even if I have been granted pro hac vice status
   in another case in the Southern District of Florida.

          5.      I understand and agree that any misuse of this electronic filing privilege will be
   brought to the attention of the Honorable K. Michael Moore and that this privilege may be
   revoked at any time without notice.

           6.       If any of the information below changes during the course of this action, I shall
   file a notice of such change in the MDL action, and I shall update my CM/ECF user account
   pursuant to the Administrative Procedures.
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          State Bar Number:       4103909
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   Attorney Signature: ________________________                  Date: _____________________
                                                                        7/26/2023
